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                                                  UNITED STATES DISTRICT CO URT
                                                  SO UTH ERN D ISTR ICT O F FLO R IDA

                                                  CASE NO.11-5027-LSS
 UNITED STATES OF AM ERICA
                                                  O R DER O N INITIA L A PPEA M N C E
               Plaintiff                          Language English
                                                  Tape N o. 10-
V.                                                AU SA      AllysonFritz
                                                 A gent
W ILLIAM DOR
           Defendant.
                                 /
       Theabove-nameddefendanthaving been arrested on 11-3- 11, having appeared before thecourtforinitial
appearaORDERED
       nceon 11-4-11and proceedingshaving been held in accordancewith F.R.C.P.5or40(a),itisthereupon
                    asfollows:
1.       FPD :Stu A bram s                                                  appeared
                                                                                     as perm anent/tem porary
counselofrecord.
   Address:
   Zip Code:                       Telephone:                                                              2
                                                                                                            .
                                                              appointed aspermanentcounselofrecord.
   Address:                                                                                               Zi
Code:                        T                                                                              p
d                             elephone:                                                                3. The
Jefendantshallattempttoretain counseland shallappearbeforethecourtat               on                  before
 udge                     .
4.Arraignm ent/preliminaryissetfor 12-9-11 Tim e/Location to beset. beforeJudgeSnow.
5.The defendantisheld in tem porary pretrialdetention pursuantto 18 U .S.
                                                                        C.Section3142(d)or(9 because
d                                                                                                          A
  etention hearing,pursuantto 18U .S.C.Section314249,issetfor                at beforeJudce
6.Thedefendantshallbereleasedfrom custodyuponthepostingofthefollow ingtypeofappearance bond, pur      .suant
to 18U .S.C.Section 3142: Bond hearingheld. $100.000 CSB with nebbiaset
             Thisbond shallcontain the standard conditionsofbond printed in thebond form ofthisCourt and in
                                                                                                         ,
addition,thedefendantm ustcomply with thespecialconditionschecked below :
    a.Surrendera11passportsand traveldocum entto thePretrialServicesOffice.
    b.Reportto PretrialServicesasfollows:              asdirected;         tim esaweek kmonth byphone
           tim esaweek/m onth           in person; other:                                            ,
c.Submitto random urinetestingby PretrialServicesfortheuseofnon-physician-prescribed substances
   prohibitedby law.
    d.M aintain oractively seek fulltim egainfulemploym ent.
   e.M aintain orbegin an educationalprogram .
   f.A void al1contactw ith victim soforw itnessesto the crim escharged.
   g.Refrain from possessing a firearm , destructive device or otherdangerous weapon.
   h.Comply with thefollowing curfew :
 i.Avoid al1comm ercialtransportation facilities;no airports, no m arinas,no busterm inals.
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1 .Complywith thefollowingadditionalspecialconditionsofthisbond:

     bond w as set:A tA rrest
                            O n W arrant
                           A fterHearing

       lf bond ischanged f'
                          rom thatsetin anotherDistrict, thereasonpursuanttoRule40(9 is

1966) Ifthisspaceischecked,an evidentiaryhearing pursuantto United Statesv Nebbia,357,F.2d 303(2Cir.
                                                                                     .
       shallbeheldpriorto theposting ofthebond. Such heming shallbescheduledprom ptlyupon notification to
the courtthatthe defendantisready topostbond.

7.Thedefendanthasbeen advisedbythecourtthatifheorsheisreleased on bondpursuantto the conditionsset
forth herein orthoselaterordered bythecourt, thedefendantissubjecttoarrestand revocationofreleaseandto
variousciviland crim inalsanctionsforanyviolationofthose conditions. These various sanctionsand penaltiesare
setforth morefully in theAppearanceBond itself.

8.The defendantis comm itted to the custody ofthe United StatesM arshaluntilan appearance bond hasbeen
executed in accordancewith thisorsubsequentcourtorder.

       DONE AND O RDERED atFt.Lauderdale, Floridathis4 day of November,2010.


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                                                                                           -z
                                                   Jo-d..ct..z.-y.&u   ...   ..-..           - o-
                                                                                                ztg
                                                LUM NA S.SNOW
                                                UNITED STATES M AGISTRATE

cc:AssistantU .S.Attom ey
  Defendant
   Counsel
   Copy forJudge
  PretrialServices/probation
